Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 1 of 39 Page ID #:3613



     1   Lawrence Hinkle (SBN 180551)
         lhinkle@sandersroberts.com
     2   Stephanie Jones Nojima (SBN 178453)
         sjonesnojima@sandersroberts.com
     3   Matthew Barzman (SBN 309063)
         mbarzman@sandersroberts.com
     4   SANDERS ROBERTS LLP
         1055 West 7th Street, Suite 3200
     5   Los Angeles, CA 90017
         Telephone: (213) 426-5000
     6   Facsimile: (213) 234-4581
     7 Attorneys for Plaintiffs
       HIDDEN EMPIRE HOLDINGS, LLC;
     8 HYPER ENGINE, LLC; AND DEON
       TAYLOR
     9
                              UNITED STATES DISTRICT COURT
    10
                            CENTRAL DISTRICT OF CALIFORNIA
    11

    12
       HIDDEN EMPIRE HOLDINGS,                  CASE NO. 2:22-cv-06515-MWF-AGR
    13 LLC; a Delaware limited lability
       company; HYPER ENGINE, LLC; a            PLAINTIFFS’ REPLY IN SUPPORT
    14 California limited liability company;    OF MOTION TO DISMISS
       DEON TAYLOR, an individual,
    15
                          Plaintiffs,
    16
              v.                                 Hearing Date: April 24, 2023
    17                                           Hearing Time: 10:00 AM
       DARRICK ANGELONE, an                      Dept:         5A
    18 individual; AONE CREATIVE, LLC
       formerly known as AONE
    19 ENTERTAINMENT LLC, a Florida              Assigned for all purposes to the
       limited liability company; ON             Honorable Judge Michael W. Fitzgerald
    20 CHAIN INNOVATIONS, LLC, a
       Florida limited liability company,
    21
                          Defendants.
    22

    23

    24

    25

    26

    27

    28
                                          -1-              Case No.: 2:22-cv-06515-MWF-AGR
                   PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 2 of 39 Page ID #:3614



     1                                                TABLE OF CONTENTS

     2                                                                                                                             Page

     3   MEMORANDUM OF POINTS AND AUTHORITIES ..................................................... 1

     4   I.      INTRODUCTION .................................................................................................... 1

     5   II.     THE COURT SHOULD DISREGARD THE INCONSISTENT AND
                 IMPLAUSIBLE ALLEGATIONS IN THE TACC ................................................. 1
     6
         III.    THE TACC IS REPLETE WITH INTERNAL INCONSISTENCIES ................... 3
     7
         IV.     DEFENDANTS’ ADMISSIONS ARE CONCLUSIVELY BINDING .................. 7
     8
         V.      MOST OF DEFENDANTS’ COUNTERCLAIMS ARE TIME BARRED .......... 11
     9
                 A. The Statue of Limitations on Defendants’ Oral, Implied and Quasi
    10              Contract Claims Ran Over a Year Before This Action Was Filed .................. 11

    11           B. Defendants’ Continuing Violations Theory Does Not Save Their Stale
                    Contract Claims ............................................................................................... 13
    12
                 C. The Longest Statute of Limitations Applicable to Defendants’ Tort
    13              Claims Expired Over a Month Before They Filed the State Court Action ..... 14

    14           D. Defendants Cannot Plausibly Allege Fraudulent Concealment to Save
                    Their Time Barred Claims ............................................................................... 17
    15
         VI.     DEFENDANTS EQUITABLE CLAIMS ARE DEFECTIVE .............................. 18
    16
                 A.       Defendants’ Unjust Enrichment Claim Also Fails Because Defendants
    17                    Do Not Plausibly Alleged Any Misconduct by Plaintiffs ........................... 19

    18   VII.    DEFENDANTS’ BREACH OF EXPRESS AND ORAL OPERATING
                 AGREEMENT CLAIMS ARE NOT PLAUSIBLE .............................................. 19
    19
       VIII. DEFENDANTS’ CLAIMS FOR BREACH OF FIDUCIARY DUTY,
    20       CONSTRUCTIVE FRAUD, NEGLIGENT MISREPRESENTATION AND
             NEGLIGENCE ARE NOT PLAUSIBLE .............................................................. 20
    21
                 A.       Defendants Do Not Plausibly Plead a Duty Owed by Plaintiffs ................. 20
    22
                 B.       Defendants Have Not Met Rule 9(b)’s Specificity Requirements .............. 21
    23
         IX.     DEFENDANTS’ CLAIM FOR PROMISSORY FRAUD IS NOT
    24           PLAUSIBLE........................................................................................................... 22

    25   X.      DEFENDANTS’ PUNITIVE DAMAGE ALLEGATIONS FAIL ........................ 23

    26   XI.     DEFENDANTS’ DECLARATORY RELIEF CLAIM IS DEFECTIVE .............. 24

    27   XII. CONCLUSION ............................................................................................. 24
    28

                                                  -2-             Case No.: 2:22-cv-06515-MWF-AGR
                           PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 3 of 39 Page ID #:3615



     1                                                 TABLE OF AUTHORITIES

     2                                                                                                                                   Pages
         Cases
     3
         Abrams v. Planet Home Lending, LLC., CV228052MWFE, U.S. Dist. LEXIS
     4
             44007 (C.D. Cal. Mar. 15, 2023) ................................................................................... 21
     5

     6   Anderson v. Ghaly, No. 15-CV-05120-HSG, 2020 WL 3184494, at *10 (N.D.
     7       Cal. June 15, 2020) ........................................................................................................ 21
     8
         Barber v. Remington Arms Co., No. CV 12-43-BU-DLC, 2013 WL 496202,
     9
             at *2 (D. Mont. Feb. 11, 2013) ...................................................................................... 14
    10

    11
         Czajkowski v. Haskell & White, LLP, 208 Cal. App. 4th 166, 174, 144 Cal.
             Rptr. 3d 522, 528 (2012) ................................................................................................ 19
    12

    13   Ebeid v. Lungwitz, 616 F.3d 993, 998 (9th Cir.2010) ........................................................ 24
    14
         Fox v. Ethicon Endo-Surgery, Inc., 35 Cal 4th 737, 807 (2005).......................................... 17
    15

    16   Gustafson v. BAC Home Loans Servicing, LP, No. SACV 11-915-JST ANX,
    17       2012 WL 7071488, at *11 (C.D. Cal. Dec. 26, 2012) ................................................... 12

    18
         Hamilton Materials, Inc. v. Dow Chem. Corp., 494 F.3d 1203, 1206–07 (9th
    19
             Cir. 2007) ....................................................................................................................... 17
    20
         Hamilton v. Aubrey, No. 2:07CV01413HDMRJJ, 2008 WL 1774469, at *1
    21
             (D. Nev. Apr. 15, 2008) ................................................................................................... 2
    22

    23   Hip Hop Beverage Corp. v. Michaux, No. CV 16-03275-MWF-AGR, 2016
    24       WL 8578912, at *5 (C.D. Cal. Nov. 30, 2016) .................................................. 14, 22, 24
    25
         Hornberger v. Merrill Lynch, Pierce, Fenner & Smith, Inc., No.
    26
             SACV141645DOCRNBX 2015 WL 13310465, at *3 (C.D. Cal., Jan. 22,
    27
             2015) .................................................................................................................... 9, 11, 14
    28

                                                    -3-             Case No.: 2:22-cv-06515-MWF-AGR
                             PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 4 of 39 Page ID #:3616



     1                                                  TABLE OF AUTHORITIES
                                                            (CONTINUED)
     2
                                                                                                                                             Pages
     3
         Kline v. Turner, 87 Cal. App. 4th 1369, 1374 (2001) ......................................................... 18
     4

     5   Lackner v. North (2006) 135 Cal.App.4th 1188, 1211–1212, 37 Cal.Rptr.3d
     6       863 .................................................................................................................................. 26

     7
         Lee v. Bank of Am., N.A., No. 21-CV-07231-JSC, 2022 WL 595877, at *5
     8
             (N.D. Cal. Feb. 28, 2022)............................................................................................... 18
     9
         McCool v. Wilson, No. EDCV192499PSGKKX, 2020 WL 7223252, at *7
    10
             (C.D. Cal. Oct. 28, 2020) ........................................................................................... 9, 24
    11

    12   Miss Global Organization LLC v. Mak, CV17223DOCKES, 2018 WL
    13       6118616, *4 (C.D. Cal. June 27, 2018) ............................................................. 12, 15, 20
    14
         Mohsen v. Morgan Stanley & Co., No. CV1307358MWFASX, 2015 WL
    15
             13914801, at *5–6 (C.D. Cal. Oct. 2, 2015) ........................................................... passim
    16

    17   Nat'l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 117–18, 122 S. Ct. 2061,
             2075, 153 L. Ed. 2d 106 (2002) ............................................................................... 14, 15
    18

    19   Neilson v. Union Bank of California, N.A., 290 F. Supp. 2d 1101, 1141 (C.D.
    20       Cal. 2003) ....................................................................................................................... 23
    21
         Net-Com Servs., Inc. v. Eupen Cable USA, Inc., No. CV1102553JGBSSX,
    22
             2013 WL 12131179, at *7 (C.D. Cal. July 12, 2013) .................................................... 18
    23

    24   Resnick v. Hyundai Motor Am., Inc., No. CV 16-00593-BRO (PJWx), 2017

    25       WL 1531192, at *22 (C.D. Cal. Apr. 13, 2017) ............................................................ 18

    26
         Richards v. CH2M Hill, Inc., 26 Cal. 4th 798, 817, 29 P.3d 175 (2001) ...................... 14, 15
    27
         Robuck v. Dean Witter & Co., Inc., 649 F.2d 641, 644 (9th Cir. 1980) ............................. 17
    28
                                                  -4-              Case No.: 2:22-cv-06515-MWF-AGR
                           PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 5 of 39 Page ID #:3617



     1                                                  TABLE OF AUTHORITIES
                                                            (CONTINUED)
     2
                                                                                                                                         Pages
     3
         Scott v. Phoenix Sch., Inc., 175 Cal. App. 4th 702, 715, 96 Cal. Rptr. 3d 159,
     4
              170 (2009) ...................................................................................................................... 27
     5

     6   Silva v. U.S. Bancorp, No. 5:10–cv–01854–JHN–PJWx, 2011 WL 7096576,

     7        at *4 (C.D. Cal. Oct. 6, 2011) ........................................................................................ 18

     8
         Traverso v. Dept. of Transportation, 87 Cal. App. 4th 1142, 1151 (2001) .......................... 16
     9
         U.S. Med. Instruments, Inc. v. CFS N. Am., Inc., No. 13-CV-349-BEN DHB,
    10
              2013 WL 6055387, at *9 (S.D. Cal. Nov. 13, 2013) ..................................................... 21
    11

    12   Volk v. D.A. Davidson & Co., 816 F.2d 1406, 1416 (9th Cir. 1987) ................................. 19
    13
         Yumul v. Smart Balance, Inc., 733 F.Supp.2d 1117, 1131 (C.D. Cal. 2010) ..................... 19
    14

    15   Zecos v. Nicholas-Applegate Cap. Mgmt., 42 F. App'x 31, 32 (9th Cir. 2002) ................. 12
    16
         Statutes
    17
         Cal Civ. Code § 338(d) ........................................................................................................ 19
    18
         Civil Code section 3294(c) .................................................................................................. 27
    19

    20   Rules
    21   Fed. R. Civ. P. 9(b) .......................................................................................................... 5, 21
    22

    23

    24

    25

    26

    27

    28
                                                   -5-              Case No.: 2:22-cv-06515-MWF-AGR
                            PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 6 of 39 Page ID #:3618



     1                 MEMORANDUM OF POINTS AND AUTHORITIES
     2   I.    INTRODUCTION
     3         Plaintiffs identified at least five different reasons why the entire TACC should
     4   be dismissed in their moving papers; (1) binding, prior admissions by Defendants that
     5   the statutes of limitations applicable to all claims was triggered on August 20, 2019
     6   and expired before Defendants filed their counterclaims; (2) binding, prior admissions
     7   that no operating agreement giving Defendants an interest in Hyper Engine ever
     8   existed; (3) threadbare and implausible allegations in the TACC that cannot overcome
     9   these prior admissions; (4) inconsistent, contradictory and implausible allegations
    10   within the body of the TACC itself that further undermine the plausibility of
    11   Defendants’ allegations; and (5) Defendants’ failure to plead its fraud claims with the
    12   requisite level of specificity required by Fed. R. Civ. P. 9(b).
    13         Defendants’ opposition asks the Court to ignore all these fatal defects because
    14   they claim defendants “would not intentionally self-destruct their own claims.” Yet
    15   that is exactly what happened here. Each time Plaintiffs identified a problem with
    16   Defendants’ counterclaims they created new facts in an amended pleading to try to
    17   address that problem, apparently failing to recognize they are conclusively bound by
    18   their prior admissions made in Darrick Angelone’s declaration and their state court
    19   pleadings that establish they have no claims at all. Further, Plaintiffs have
    20   demonstrated how amending any of these claims would be futile. The entire TACC
    21   should be dismissed without leave to amend.
    22   II.   THE COURT SHOULD DISREGARD THE INCONSISTENT AND
    23         IMPLAUSIBLE ALLEGATIONS IN THE TACC
    24         In their moving papers, Plaintiffs identified numerous allegations made by
    25   Defendants that are inconsistent, contradicted by documents referred to in the TACC,
    26   require unreasonable inferences to be made, and are clearly implausible. Defendants
    27   failed to even address most of those allegations let alone refute Plaintiffs’ position
    28
                                            -1-              Case No.: 2:22-cv-06515-MWF-AGR
                     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 7 of 39 Page ID #:3619



     1   regarding them. Also, Defendants do not dispute the legal authority cited authorizing
     2   the Court to refuse to accept their allegations as true under these circumstances.
     3   Instead, they seem to hope the Court will ignore all the implausible facts and law and
     4   just accept as true all of the allegations in the TACC regardless of the existence of the
     5   many inconsistences and contradictions identified and despite the fact that their
     6   allegations just do not make any logical sense and are therefore implausible.
     7          The law that permits a court to reject as true Defendants’ conclusory,
     8   inconsistent and implausible allegations is clear. The court need not accept as true
     9   those allegations that (1) contradict matters properly subject to judicial notice; (2) are
    10   conclusory allegations of law, mere legal conclusions, unwarranted deductions of
    11   fact, or unreasonable inferences; (3) are contradicted by documents referred to in the
    12   complaint; or (4) are internally inconsistent.                     Hamilton v. Aubrey, No.
    13   2:07CV01413HDMRJJ, 2008 WL 1774469, at *1 (D. Nev. Apr. 15, 2008) (internal
    14   citations omitted).1 Defendants did not cite any law to the contrary.
    15          Unable to do so, Defendants resorted to misrepresenting the law by arguing that
    16   the Court should disregard all of the inconsistencies and contradictions in prior
    17   pleadings because the TACC supposedly supersedes them. Opp., 9:19-10:8. That is
    18   not the law. This Court’s ruling in Mohsen v. Morgan Stanley & Co., No.
    19   CV1307358MWFASX, 2015 WL 13914801, at *5–6 (C.D. Cal. Oct. 2, 2015) is
    20   instructive. In Mohsen, this Court confirmed that (1) prior pleadings in separate,
    21   related actions are not superseded by later pleadings in a different case; and (2) may
    22   be considered as part of its ‘context-specific” inquiry based on its judicial experience
    23   and common sense to assess whether the later pleading plausibly suggests an
    24   1
           The only case dealing with plausibility and inconsistent allegations Defendants mention in the
         opposition is Shwarz v. United States, 234 F. 3d 428 (9th Cir. 2000). They argue that Shwarz “does
    25   not stand for the proposition that courts may disregard allegations that are ‘internally inconsistent.’”
         Opp., 11:26-28. However, they do not disagree that said legal principal exists. Rather, they only
    26   take issue that the notion that Shwarz itself does stand for that legal principal. Without question, that
         legal principal is well supported by the case law cited herein. Hamilton v. Aubrey, supra cites to
    27   Shwarz and other authorities for the stated proposition but was inadvertently omitted form the string
         citation in Plaintiffs’ moving papers.
    28
                                                         -2-                       Case No.: 2:22-cv-06515-MWF-AGR
                        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 8 of 39 Page ID #:3620



     1   entitlement to relief.
     2          As noted in Section III below, the Court may consider the TACC itself,
     3   Defendants’ allegations in the various counterclaims filed in this action, the
     4   complaints filed by Defendants in the related state court action, and Defendant
     5   Angelone’s declaration filed with the Court. See Request for Judicial Notice (“RJN”),
     6   Exhs. 1-4; Exhs. to Angelone Decl., (Dkt. 18-2). In doing so, the Court should
     7   conclude that the TACC contains numerous inconsistent and implausible allegations,
     8   just as it did in Mohsen.
     9   III.   THE TACC IS REPLETE WITH INTERNAL INCONSISTENCIES
    10          The TACC contains numerous allegations that are internally inconsistent and
    11   thus implausible. Despite the many efforts by Defendants to make their allegations
    12   plausible, they fail at every turn. Below are examples of why the Court, exercising its
    13   judicial experience and common sense, should find that Defendants’ allegations are
    14   both inconsistent and implausible.
    15          ¶ 28 – Nowhere do Defendants allege that every party to the alleged 3/1/18
    16   operating agreement actually agreed to its terms. Defendants allege that there are four
    17   parties to that alleged written agreement including: Angelone, Mr. Taylor, Ms. Taylor
    18   and Robert F. Smith. TACC, ¶ 28, Exhibit A. However, Defendants allege that said
    19   agreement was only “signed and executed by Deon Taylor and Roxanne Taylor on
    20   behalf of Hyper Engine.” The operating agreement Defendants attached to the TACC
    21   is, however, not signed by anyone. TACC, Exh. A. Also, there is no representation
    22   that either Angelone or Mr. Smith either signed the agreement or agreed to its terms.
    23   The draft operating agreement itself contemplates signatures by the parties. Id. at
    24   ¶¶ 10.1, 10.3, 13.2, 13.4, 13.6. The lack of an agreement signed by all of the parties
    25   is telling.
    26          ¶¶ 30, 31, 39, 58, 66, 75 and 79 – Defendants allege that both AOne and Darrick
    27   received 33.3% ownership of Hyper Engine pursuant the 12/1/19 operating
    28
                                              -3-              Case No.: 2:22-cv-06515-MWF-AGR
                       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 9 of 39 Page ID #:3621



     1   agreement. At Paragraphs 30 and 31, Defendants allege that AOne is the member of
     2   Hyper Engine with 33.3% ownership. At Paragraphs 39, 58, 66, 75, 79, Defendants
     3   allege that Angelone is the member of Hyper Engine with 33.3% ownership.
     4         ¶¶ 28, 75, 81 – Defendants allege that different parties entered into different
     5   operating agreements for Hyper Engine with different terms at different times, all with
     6   no explanation as how that could legally happen. Defendants allege that Angelone,
     7   the Taylors and Mr. Smith entered into the 3/1/18 operating agreement and that Mr.
     8   Smith owned 50% and the remaining members each owned 16.6%. TACC, ¶ 28.
     9   Defendants do not allege that said operating agreement was amended, superseded or
    10   terminated. Nonetheless, while claiming that agreement still exists and is enforceable,
    11   Defendants claim that different parties – AOne or Angelone (see above), Mr. Taylor
    12   and Ms. Taylor – entered into a different operating agreement for Hyper Engine on
    13   12/1/19 and that they each owned 33.3.% of Hyper Engine. They do not explain how
    14   this could be legally possible. When the 12/1/19 operating agreement was entered
    15   into, what happened to Mr. Smith’s 50% interest and Angelone’s 16.6% interest?
    16         ¶ 31 (subparagraph k) – Defendants allege that HEFG is owned and/or
    17   controlled by Hyper Engine where it states: “…HEFG members would discuss,
    18   among other things, Hyper Engine’s structure as a subsidiary of HEFG….” To the
    19   extent Defendants are alleging that HEFG is an owner of Hyper Engine, that is
    20   inconsistent with its allegations that 100% of Hyper Engine was owned by a
    21   combination of Angelone, AOne, the Taylors and/or Mr. Smith. To the extent
    22   Defendants are alleging that HEFG controls Hyper Engine, that is inconsistent with
    23   all of the other allegations of the TACC, including for example, the terms of the
    24   alleged operating agreement attached as Exhibit A which does not mention anything
    25   about HEFG having any control of Hyper Engine.
    26         ¶ 34 – Defendants allege that before Hyper Engine was formed, the Taylors
    27   agreed that they would not include Angleone as a member. That allegation is
    28
                                            -4-              Case No.: 2:22-cv-06515-MWF-AGR
                     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 10 of 39 Page ID #:3622



      1   inconsistent with Defendants allegations that Plaintiffs sent him a draft of an operating
      2   agreement dated 3/1/18, sent him a draft of an operating agreement dated 12/1/19 and
      3   discussed the possibility of including him as a member of Hyper Engine over the
      4   years. Defendants provide no explanation as to why Plaintiffs would go through the
      5   trouble of doing those things if their intention was that they never would consider
      6   including him as a member of Hyper Engine. 2
      7          ¶ 39 – Defendants admit there was no binding operating agreement where they
      8   state: “Had Darrick known the actual facts as set forth herein concerning Deon and
      9   Roxanne’s failure to consummate a binding partnership or operating agreement
     10   for Hyper Engine….” This is inconsistent with Defendants’ allegation that the parties
     11   entered into any operating agreement. TACC, ¶¶ 28, 75, 81.
     12          ¶ 42 – Defendants allege: “Darrick’s email states ‘I want to make sure that the
     13   loose ends of our partnership surrounding Hyper Engine are nailed down. My hope
     14   is that Darrell can work with Quincy to formalize the terms and that an agreement
     15   can be made without any further delay.’” [Emphasis added.] This admission is
     16   Defendants’ unequivocal acknowledgement that the parties had not finalized an
     17   operating agreement as of at least February 21, 2022. How could the parties have
     18   already entered into three (3) prior operating agreements by then? TACC, ¶¶ 28, 75,
     19   81.
     20          ¶ 42 – Defendants allege: “…Quincy responded on April 8, 2022 stating that
     21   HEFG is not ready to ‘engage in any discussion’ regarding plans for Hyper Engine,
     22   to which [Angelone] expressed [his] concern that formalization was long overdue
     23   and should be addressed with urgency.” This allegation is again inconsistent with
     24   Defendants’ allegations that the parties had already entered into three (3) different
     25   operating agreements for Hyper Engine. TACC, ¶¶ 28, 75, 81. Why would there need
     26
          2
            Defendants entirely disregard the fact that Angelone’s own behavior in hijacking Plaintiffs’
     27   intellectual property in an effort force the Taylors to add him as a member of Hyper Engine is likely
          what killed the contemplated partnership.
     28
                                                         -5-                     Case No.: 2:22-cv-06515-MWF-AGR
                         PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 11 of 39 Page ID #:3623



      1   to be “formalization” if three (3) operating agreements had already been formalized?
      2   Why would formalization be “long overdue” if formalization had already occurred
      3   three (3) times? Why would there be “urgency” if three (3) operating agreements
      4   already existed?
      5         ¶ 42: Defendants allege: “…on or about April 21, 2022, Quincy responded with
      6   a demand for a master services agreement to cover all services then provided by
      7   Darrick and AONE to HEFG or Hyper Engine, which was seemingly to detract from
      8   Darrick’s demand to formalize an operating agreement.” TACC, ¶ 42. This
      9   allegation is inconsistent with Defendants’ allegations that the parties had already
     10   entered into three (3) different operating agreements for Hyper Engine. TACC, ¶¶ 28,
     11   75, 81.
     12         ¶ 43 – Defendants allege: “…Darrick replied and stated AONE’s position about
     13   outstanding balances for past services provided by Darrick and AONE and his
     14   personal dissatisfaction with the approach Quincy was taking in avoiding
     15   formalization of a Hyper Engine agreement….” This allegation is inconsistent with
     16   Defendants’ allegations that the parties had already entered into three (3) different
     17   operating agreements for Hyper Engine. TACC, ¶¶ 28, 75, 81.
     18         ¶ 47 – Defendants allege: “In response, Darrick once again reiterated that the
     19   mutual understanding was that a ‘Hyper Engine partnership be formalized
     20   [omitted]’….” This allegation is inconsistent with Defendants’ allegations that the
     21   parties had already entered into three (3) different operating agreements for Hyper
     22   Engine. TACC, ¶¶ 28, 75, 81.
     23         ¶¶ 75 and 81 – Defendants allege that the parties agreed that the terms of the
     24   12/1/19 operating agreement and the terms of the implied agreement “would be in
     25   accordance with the terms of the parties’ March 1, 2018 operating agreement.” This
     26   is a new fabricated and conclusory allegation first appearing in the TACC. During the
     27   meet and confer discussions about the defects in the prior pleadings, Plaintiffs’
     28
                                             -6-              Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 12 of 39 Page ID #:3624



      1   counsel told Defendants’ counsel many times that they were required to state the
      2   material terms of the oral agreement and implied agreement in the complaint. Because
      3   in truth the parties never entered into any operating agreement, let alone discussed
      4   and agreed upon the terms of an oral or implied agreement, Defendants resorted to
      5   making up this false allegation to try to defeat a motion to dismiss. Moreover,
      6   Defendants’ claim that the parties to the 12/1/19 operating agreement agreed that the
      7   terms of the 3/1/18 operating agreement would govern makes even less sense because
      8   Defendants claim that the terms of the 12/1/19 operating agreement were in writing.
      9   TACC, ¶ 29 (“On or about December 1, 2019, HEFG, Deon, and Roxanne created a
     10   second operating agreement for Hyper Engine….”)
     11   IV.   DEFENDANTS’ ADMISSIONS ARE CONCLUSIVELY BINDING
     12         A. The TACC Does Not Supersede Defendants’ State Court Pleadings
     13         In responding to Plaintiffs’ argument that Defendants are bound by their prior
     14   admissions in other pleadings and in the Angelone Declaration that no Hyper Engine
     15   agreement ever existed, Defendants cherry pick two of the multiple inconsistencies
     16   Plaintiffs raised in their moving papers (the Angelone Declaration and his admission
     17   that on February 21, 2022 he hired counsel for the purpose of forcing Plaintiffs to
     18   agree to finalize a Hyper Engine Agreement) and misstate the law governing
     19   admissions and superseded pleadings. See Mot. 5:24-9:22; Opp. 5:19-9:15. While
     20   superseded complaints in the instant action are not considered binding admissions,
     21   they still may be considered by the Court in assessing the plausibility of Defendants’
     22   claims. Mohsen, supra. Moreover, the same is not true of pleadings from other,
     23   related proceedings. Id.
     24         Each of Defendants’ three state court complaints are related to this action and
     25   replete with admissions confirming that (1) Defendants are intentionally
     26   misrepresenting to this Court that the March 1, 2018 draft written agreement alleged
     27   in the TACC to be binding was ever finalized or signed by the Taylors; and (2)
     28
                                             -7-              Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 13 of 39 Page ID #:3625



      1   advance the meritless superseding argument to avoid the effect of the multitude of
      2   other binding admissions made in the state court complaints that conclusively
      3   establish there was never any final Hyper Engine operating agreement to which
      4   Defendants were parties.
      5          Most damning, in all three iterations of the state court complaint, Defendants
      6   admit that the March 1, 2018 agreement Defendants frivolously claim in the TACC
      7   (¶¶ 28, 68) and their opposition (2:18-21) to be the operative express agreement
      8   between the parties was only a draft and never finalized or executed by the Taylors.
      9   See SCC, RJN Exh. 1, ¶ 21, 24(a); FAC, RJN Exh. 2, ¶¶ 21, 24(a); SAC, RJN Exh. 3,
     10   ¶¶ 21, 24(a). 3 Instead, in those pleadings, Defendants claim that a second written
     11   operating agreement dated December 1, 2019 was allegedly signed by Deon Taylor
     12   and was the express agreement that governed the parties relationship for Hyper
     13   Engine. Id. at ¶ 23 (SCC); ¶ 23 (FAC); ¶ 23 (SAC).
     14          This is just further evidence that Defendants are not operating in good faith and
     15   making implausible facts up to suit their whims. The three state court complaints are
     16   also replete with multiple admissions that no agreement was ever reached between
     17   the parties giving Defendants any interest in Hyper Engine. RJN, Exhs. 1-3, ¶ ¶ 31,
     18   32, 33, 37. Since all of Defendants’ claims are predicated on made up and implausible
     19   claims of an agreement between the parties supposedly giving Angelone or AOne an
     20   interest in Hyper Engine, the Court should hold Defendants to these binding
     21   admissions and dismiss the entire TACC without leave to amend.
     22          B. Angelone’s Declaration is Conclusively Binding on the Issue of no
     23          Hyper Engine Operating Agreement Including Defendants
     24          Defendants are again wrong when they claim Angelone’s sworn declaration
     25
          3
           For the Court’s convenience, attached as Exhibit A is a chart identifying the inconsistences and
     26   admissions in the prior pleadings and Angelone Declaration. They are as follows: State Court
          Complaints (¶¶ 21, 23, 31-33, 37, 40-42, 56 (Complaint and FAC); ¶¶ 21, 23, 31-33, 37, 40-
     27   42, 57(SAC)); Angelone Decl., ¶¶39, 40-42, 45-46, 69, 85, 86, Exhs. 20-22, 44, 58, 59 (Dkt. 18-2);
          ¶¶ 16, 25 (Cross-complaint, Dkt. 33); ¶¶ 25, 27, 35 (FACC, Dkt. 37).
     28
                                                       -8-                   Case No.: 2:22-cv-06515-MWF-AGR
                        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 14 of 39 Page ID #:3626



      1   and the exhibits attached to it are “irrelevant” and therefore not binding on
      2   Defendants. Opp. 7:7-15. They cite to no authority in support of this ridiculous
      3   proposition, presumably because the case law is to the contrary. See Hornberger v.
      4   Merrill Lynch, Pierce, Fenner & Smith, Inc., No. SACV141645DOCRNBX
      5   2015 WL 13310465, at *3 (C.D. Cal., Jan. 22, 2015) (prior declaration and attached
      6   exhibits filed by plaintiff in same case: “As judicial admissions these facts are
      7   conclusively binding upon the Plaintiff and may be considered in a motion to
      8   dismiss.”) aff'd, 677 F. App'x 336 (9th Cir. 2017); McCool v. Wilson, No.
      9   EDCV192499PSGKKX, 2020 WL 7223252, at *7 (C.D. Cal. Oct. 28, 2020) (granting
     10   motion to dismiss based on conclusive judicial admissions made by plaintiff in prior
     11   declaration that contradicted complaint because he “cannot simply ignore the
     12   previously filed documents in this case to rewrite the transaction…”).
     13         Here, Angelone admitted in at least three different places in his Declaration that
     14   as late February, March and April of 2022 there was no Hyper Engine partnership
     15   between AOne and/or Angelone and Plaintiffs because the parties were still
     16   negotiating “proposed terms.” RJN, Exh. 4, ¶ ¶ 39, 45, 46. These admissions are
     17   binding and all the claims in the TACC should be dismissed without leave to amend.
     18         C. Angelone’s Declaration Conclusively Establishes Defendants’ Claims
     19         Are Time-Barred
     20         In the Opposition Defendants confirm that all their tort claims emanate from
     21   Angelone’s claimed exclusion from Hyper Engine, stating “Deon and Roxanne’s
     22   knowing intent to deceive is evidenced in large part by Deon and Roxanne’s exclusion
     23   and refusal to treat Darrick as a partner against past promises.” Opp., 4:10-11
     24   (emphasis added). Angeone, however admits in his Declaration that no later than
     25   August 20, 2019 he knew he had claims against Plaintiffs because he sent the Taylors
     26   an email (1) “detailing his frustration at the lack of inclusion in the Hyper Engine
     27   decision making process”; (2) expressing his frustration with “lack of formalizing
     28
                                             -9-              Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 15 of 39 Page ID #:3627



      1   our hyper engine partnership”; and (3) claiming Defendants Angelone and Aone had
      2   been damaged by “the continued burden of carried costs” and the lack of a Hyper
      3   Engine agreement between the parties. RJN, Ex. 4, ¶ 69, Ex. 44. This is the exact
      4   same harm Defendants claim is the genesis of all their claims, “Darrick’s exclusion”
      5   from Hyper Engine. Opp., 4:10-11 [emphasis added]. As discussed in Section V
      6   below, the statute of limitations began to run on all his contract and tort claims at that
      7   moment, and they are now time barred. The Court should hold Defendants to this
      8   admission, which necessarily results in the dismissal of the TACC with prejudice.4
      9         D. Defendants’ Argument That Angelone’s Binding Admissions Are Not
     10         Unequivocal and Deliberate Strains Credulity
     11         Despite first claiming that Angelone’s binding admissions in his declaration are
     12   “irrelevant” (Opp. 7:7-15) later they concede that prior pleadings are considered
     13   judicial admissions, and unless amended, are conclusively binding on the party who
     14   made them. Opp. 11:1-3. They next try to discount this principle by cherry picking
     15   two (2) of the many admissions cited in Plaintiffs’ moving papers and claiming those
     16   admissions were not “deliberate” because “Defendants would [not] intentionally
     17   admit to the non-existence of the subject operating agreement.” Opp., 11:9-13. Like
     18   their other baseless arguments, Defendants cite no authority for the preposterous
     19   proposition that factual statements made in a sworn declaration voluntarily submitted
     20   to the Court in opposition to a motion are not “deliberate.” The fact that Angelone
     21   has told so many lies he cannot now keep his stories straight and therefore wants to
     22   disavow these earlier admissions does not make them any less deliberate or binding.
     23   Hornberger, 2015 WL 13310465, at *3 (C.D. Cal., Jan. 22, 2015).
     24           Defendants’ second argument, that the “purported ‘admissions’ that Plaintiffs
     25   cite to have since been amended and thus, have no conclusive effect” (Opp., 14:14-
     26   15) is both factually wrong and an incorrect statement of law. First, as a factual matter
     27

     28
                                             - 10 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 16 of 39 Page ID #:3628



      1   Defendants have not at any time amended the September 23, 2022 Angelone
      2   Declaration. And second, the admissions contained in the state court pleadings are
      3   not superseded by the TACC. Mohsen, 2015 WL 13914801, at *5–6. The prior
      4   admissions in the Angelone Declaration and in the state court pleadings are binding
      5   admissions that conclusively establish that Defendants’ contrary, made-up allegations
      6   are not merely implausible, but false representations intentionally submitted to the
      7   Court in an attempt to further harass Plaintiffs and avoid dismissal of their claims.
      8   The Court should dismiss the entire TACC without leave to amend.
      9 V. MOST OF DEFENDANTS’ COUNTERCLAIMS ARE TIME BARRED
     10
            A. The Statue of Limitations on Defendants’ Oral, Implied and Quasi
            Contract Claims Ran Over a Year Before This Action Was Filed
     11
                 Oral contract, implied contract and quasi contract (unjust enrichment and
     12
          quantum meruit) claims are governed by a two (2) year limitations period. Cal. Civ.
     13
          Civ. Code § 339(1). 5 A cause of action for a breach of contract accrues at the time of
     14
          the breach, i.e., when the party charged with the duty to perform under the contract
     15
          fails to perform. Zecos v. Nicholas-Applegate Cap. Mgmt., 42 F. App'x 31, 32 (9th
     16
          Cir. 2002). Where the facts and dates alleged in matters properly the subject of judicial
     17
          notice indicate the claim is barred by the statute of limitations, a motion to dismiss
     18
          for failure to state a claim is appropriate. Miss Global Organization LLC v. Mak,
     19
          CV17223DOCKES, 2018 WL 6118616, *4 (C.D. Cal. June 27, 2018).
     20
                 Defendants do not dispute that Angelone in his September 23, 2022 sworn
     21
          declaration (RJN, Exh. 4, Dkt. 18-2) filed with this Court attested that “[o]n or about
     22
          August 20, 2019 I sent an email to Roxanne and Deon detailing my frustration at the
     23

     24   5
            In their Opposition Defendants state that their unjust enrichment claim is really a quasi-contract
     25   claim seeking restitution for services provided outside of the Operating Agreement, so it is also
          subject a two year limitations period. Gustafson v. BAC Home Loans Servicing, LP, No. SACV 11-
     26   915-JST ANX, 2012 WL 7071488, at *11 (C.D. Cal. Dec. 26, 2012) (two year statute of limitations
          applies to restitution claims not founded upon an instrument of writing).
     27

     28
                                               - 11 -           Case No.: 2:22-cv-06515-MWF-AGR
                        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 17 of 39 Page ID #:3629



      1   lack of inclusion in the Hyper Engine decision making process…” nor do they deny
      2   that Angelone submitted the underlying August 20, 2019 email to the Court as part of
      3   his declaration and argued to the Court that the email gave him an ownership in
      4   Plaintiffs’ intellectual property. That email provides as follows:
      5         “In lieu of the continued burden of carried costs and lack of
      6         formalizing our hyper engine partnership, this is notice that until a
      7         formal partnership agreement between aone and hefg is formalized,
      8         moving forward aone will retain ownership of [all HEFG intellectual
      9         property]…Happy to discuss in more detail or better yet formalize
     10         Hyper Engine and get to work.”
     11   (RJN, Exh. 4, Dkt. 18-2, Exh. 44) Angelone therefore acknowledged that, as of
     12   August 20, 2019 he was aware he had been allegedly injured by incurring carried
     13   costs as a result of Deon and Roxanne’s alleged failure to recognize his claimed
     14   interest in Hyper Engine. In trying to escape the reality that Defendants are bound by
     15   these admissions, Defendants argue, without citation to authority (because none exists
     16   for these absurd propositions) that (1) the email has no effect because Angelone did
     17   not use the word “breach”; and (2) the alleged breach was “wholly independent” of
     18   Defendants’ instant claims.” Opp., 13:1-4; 13:10-17. The TACC however, alleges
     19   otherwise. Paragraphs 77 (breach of oral contract) and 86 (breach of implied contract)
     20   of the TACC state as follows:
     21          “Deon and Roxanne, individually and on behalf of Hyper Engine,
     22         breached the operating agreement by, among other things, failing to
     23         treat Darrick as a formal member of Hyper Engine, excluding
     24         Darrick from Hyper Engine’s management…”
     25         In other words, Angelone knew he was being excluded from his claimed interest
     26   in Hyper Engine at that time, but sat on his rights until he filed the state court action
     27

     28
                                             - 12 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 18 of 39 Page ID #:3630



      1   over three years later, on September 16, 2022. RJN at 1. 6 Further, the TACC
      2   incorporates the allegations at ¶¶ 77 and 86 by reference into Defendants’ claims for
      3   unjust enrichment and quantum meruit (see TACC, ¶ ¶ 126, 135), so those claims are
      4   also time barred. And Defendants’ threadbare allegations to the contrary in the TACC
      5   as to alleged later breaches of the claimed operating agreement are simply not
      6   plausible and should be disregarded. Sprewell, 266 F.3d at 989 (“A plaintiff can
      7   plead himself out of court by alleging facts which show that he has no claim, even
      8 though he was not required to allege those facts.”).
      9
              B. Defendants’ Continuing Violations Theory Does Not Save Their Stale
              Contract Claims
     10
                 Defendants cite two inapposite cases, Nat'l R.R. Passenger Corp. v. Morgan,
     11
          536 U.S. 101, 117–18, 122 S. Ct. 2061, 2075, 153 L. Ed. 2d 106 (2002), and Richards
     12
          v. CH2M Hill, Inc., 26 Cal. 4th 798, 817, 29 P.3d 175 (2001), in support of the
     13
          proposition that Defendants have alleged a continuing breach, based on threadbare
     14
          allegations that Plaintiffs “knowingly sought to exclude Darrick as a member and
     15
          avoid continuing a partnership in the operation of Hyper Engine with Darrick and
     16
          AOne…all in breach of past promises and mutual understanding between the parties”
     17
          on or after April 22, 2022. Opp., 14:1-14. These cases do nothing to salvage
     18
          Defendants’ claims because they both discuss a rule specific to Fair Employment
     19
          Housing Act employment claims. See Nat'l R.R. Passenger Corp., 536 U.S. at 117–
     20
          18 (“in short, courts applying the continuing violation doctrine have tended toward a
     21
          6
     22     Plaintiffs are not asking the court to take judicial notice of the truth of the matters asserted in the
          Angelone Decl., but are offering it for the purpose of establishing that Angelone was on notice that
     23   he had potential claims as of August 20, 2019. Barber v. Remington Arms Co., No. CV 12-43-BU-
          DLC, 2013 WL 496202, at *2 (D. Mont. Feb. 11, 2013), aff'd, 604 F. App'x 630 (9th Cir. 2015)
     24   (exhibits offered via a request for judicial notice to establish expiration of statute of limitations).
          However, the Court may consider the contents therein as a judicial admission. See Hornberger,
     25   2015 WL 13310465, at *3 (C.D. Cal., Jan. 22, 2015). In addition, the Court can consider the contents
          of the 8/20/2019 email under the incorporation by reference doctrine, since it is explicitly referenced
     26   at ¶ 37 of the TACC. Hip Hop Beverage Corp. v. Michaux, No. CV 16-03275-MWF-AGR, 2016
          WL 8578912, at *5 (C.D. Cal. Nov. 30, 2016), aff'd, 729 F. App'x 599 (9th Cir. 2018) (internal
     27   citations omitted).

     28
                                               - 13 -           Case No.: 2:22-cv-06515-MWF-AGR
                        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 19 of 39 Page ID #:3631



      1   broader view of that doctrine when the cause of action involves ongoing harassment
      2   or ongoing failure to accommodate disability”) [emphasis added]; Richards v.
      3   CH2M Hill, Inc., 26 Cal. 4th at 817 (“Essentially, the continuing violation doctrine
      4   comes into play when an employee raises a claim based on conduct that occurred in
      5   part outside the limitations period.”) [emphasis added].
      6         Further even if Defendants were able to state a claim for continuing breach
      7   (they cannot) the claim is still barred because they have not alleged specific facts
      8   indicating why they were unable to discover the existence of their claims earlier— or
      9   explain why they conducted no investigation into those claims after declaring
     10   Plaintiffs in breach of the parties’ alleged agreement on August 20, 2019. See Miss
     11   Global Org., 2018 WL6118616 at *7 (rejecting continuing violations theory and
     12   holding claims barred by statute of limitations where Plaintiff failed to plausibly
     13   explain how the claims were not time barred because “[a party] cannot evade the bar
     14   of the statute [of limitations] by skipping lightly over the first breach of duty and
     15   claiming to found their action on some subsequent conduct in line with it. If this could
     16   be done ... the operation of the statute of limitations could be entirely defeated.”)
     17   citing Traverso v. Dept. of Transportation, 87 Cal. App. 4th 1142, 1151 (2001).
     18         Yet that is exactly what Defendants seek to do here with their implausible,
     19   threadbare allegations of later breaches. Defendants’ own exhibits referenced in the
     20   TACC and their prior admissions establish that the two (2) year statute of limitations
     21   for their oral, implied and quasi contract claims was triggered no later than August
     22   20, 2019. The limitations period therefore expired no later than August 20, 2021.
     23   Defendants did not file their lawsuit until September 16, 2022, so these claims should
     24 be dismissed without leave to amend. RJN, Exh. 1.
     25
              C. The Longest Statute of Limitations Applicable to Defendants’ Tort
              Claims Expired Over a Month Before They Filed the State Court Action
     26
                The longest statute of limitations applicable to Defendants’ tort claims is three
     27
          (3) years. That limitations period is applicable to Defendants’ claims that sound in
     28
                                             - 14 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 20 of 39 Page ID #:3632



      1   fraud (breach of fiduciary duty, constructive fraud, promissory fraud, and negligent
      2   misrepresentation). Cal Civ. Code § 338(d). The statute of limitations applicable to
      3   Defendants’ negligence claim is two (2) years. Cal Civ. Code § 335.1. It is undisputed
      4   that Defendants did not file their state court action until September 16, 2022, over a
      5   month after that statute of limitations for these claims expired. RJN, Ex. 1.
      6         Each of Defendants’ tort claims is predicated on allegations that, by virtue of
      7   the existence of an allegedly enforceable March 1, 2018 written operating agreement
      8   for Hyper Engine, Plaintiffs were in a fiduciary relationship with corresponding
      9   fiduciary duties to Angelone but breached those duties by, among other things,
     10   “failing to treat Darrick as a partner and equal member of Hyper Engine,” “excluding
     11   Darrick from Hyper Engine’s management and profits as agreed” “inducing Darrick
     12   to rely on their fiduciary relationship,” and “disregard[ing] Darrick’s requests to re-
     13   negotiate and formalize a new operating agreement for Hyper Engine.” TACC ¶¶ 89,
     14   92, 95, 97, 109, 119, 120. As such, the gravamen of all of Defendants’ tort claims is
     15   the same as for their breach of contract claims—that Plaintiffs breached an operating
     16   agreement for Hyper Engine by failing to recognize Angelone’s alleged membership
     17   interest in the company, to Angelone’s claimed detriment. Id.
     18         The three (3) year period applicable to claims sounding in fraud begins to run
     19   when plaintiff has actual or constructive notice of the facts constituting
     20   the fraud. Constructive notice is knowledge of facts sufficient to make a reasonably
     21   prudent person suspicious of fraud, thus putting him on inquiry.” Robuck v. Dean
     22   Witter & Co., Inc., 649 F.2d 641, 644 (9th Cir. 1980) (internal quotations omitted).
     23   Hamilton Materials, Inc. v. Dow Chem. Corp., 494 F.3d 1203, 1206–07 (9th Cir.
     24   2007) citing Fox v. Ethicon Endo-Surgery, Inc., 35 Cal 4th 737, 807 (2005) [emphasis
     25   added]. It is not necessary that a party had notice of the specific intention to deceive
     26   before a fraud action accrues. And again, subjective beliefs are irrelevant; all that is
     27   relevant is that a reasonable person would have been on notice of a potential
     28
                                             - 15 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 21 of 39 Page ID #:3633



      1   misrepresentation.
      2          The limitations period begins to run on the date that the complaining party
      3   learns, or at least is put on notice, that a representation is false. Id. To determine when
      4   the cause of action accrued, courts “look to whether the plaintiffs have reason to at
      5   least suspect that a type of wrongdoing has injured them.” Discovery of a cause of
      6   action occurs “not when the plaintiff became aware of the specific wrong alleged, but
      7   when the plaintiff suspected or should have suspected that an injury was caused by
      8   wrongdoing.” Net-Com          Servs.,    Inc.    v.    Eupen     Cable      USA,     Inc.,    No.
      9   CV1102553JGBSSX, 2013 WL 12131179, at *7 (C.D. Cal. July 12, 2013) [emphasis
     10   added] citing Kline v. Turner, 87 Cal. App. 4th 1369, 1374 (2001); see also Lee v.
     11   Bank of Am., N.A., No. 21-CV-07231-JSC, 2022 WL 595877, at *5 (N.D. Cal. Feb.
     12   28, 2022)
     13          Here, the opposition cites no authority in response to Plaintiffs’ argument that
     14   Defendants had, at a minimum, constructive knowledge of their claims on August 20,
     15   2019. Nor do they cite any authority in support of Defendants’ argument that the
     16   statute of limitations has not run on Defendants’ tort claims. Opp., 16:7-11 (breach of
     17   fiduciary duty); 17:1-5 (constructive fraud); 18:4-8 (promissory fraud); 19:10-14
     18   (negligent misrepresentation); 23:2-7 (Negligence). 7 Instead, Defendants make the
     19   unsupported and illogical argument that Defendants were not on notice of their
     20   potential claims until April 22, 2022, when Roxanne Taylor allegedly rebuffed
     21   Angleone’s demands for a formal Hyper Engine agreement. Id.
     22          Defendants, however, conveniently ignore the fact that Angelone has admitted,
     23   in sworn testimony and in an email referenced in his complaint, that he had not just
     24   inquiry, but actual notice of his claims no later than August 20, 2019, when he
     25   7
              Defendants’ “failure to address Plaintiffs’ constructive notice argument in its opposition
          constitutes waiver of that argument and justifies dismissing these causes of action. Resnick v.
     26   Hyundai Motor Am., Inc., No. CV 16-00593-BRO (PJWx), 2017 WL 1531192, at *22 (C.D. Cal.
          Apr. 13, 2017) (citing Silva v. U.S. Bancorp, No. 5:10–cv–01854–JHN–PJWx, 2011 WL 7096576,
     27   at *4 (C.D. Cal. Oct. 6, 2011) (dismissing claims where the plaintiff “failed to address Defendants'
          arguments in his Opposition”)).
     28
                                                       - 16 -                  Case No.: 2:22-cv-06515-MWF-AGR
                       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 22 of 39 Page ID #:3634



      1   decided to take self-help measures to address Plaintiffs’ claimed failures to recognize
      2   his interests in Hyper Engine. RJN., Exh. 4; Dkt. 18-2, Ex. 44. Because Angelone had
      3   not just inquiry but actual knowledge of Defendants’ claims as of that date, it was not
      4   objectively reasonable for him to rely on later alleged reassuring comments from
      5   Roxanne and Deon as to his claimed interest in Hyper Engine to justify sitting on his
      6 rights. See Volk v. D.A. Davidson & Co., 816 F.2d 1406, 1416 (9th Cir. 1987).
      7
               D. Defendants Cannot Plausibly Allege Fraudulent Concealment to Save
               Their Time Barred Claims
      8
                Defendants do not argue in their Opposition that they may avail themselves of
      9
          the fraudulent concealment doctrine to postpone accrual of their claims, but even if
     10
          they had, the claims are still barred because they have not—and cannot—meet the
     11
          requirements of that doctrine. “[W]hen a plaintiff relies on the allegations of
     12
          fraudulent concealment, as excuses for an apparently belated filing of a complaint,
     13
          the burden of pleading and proving belated discovery of a cause of action falls on the
     14
          plaintiff.” Czajkowski v. Haskell & White, LLP, 208 Cal. App. 4th 166, 174, 144 Cal.
     15
          Rptr. 3d 522, 528 (2012).
     16
                For the doctrine of fraudulent concealment to apply, it must be pled with
     17
          particularity under Federal Rule of Civil Procedure 9(b). Yumul v. Smart Balance,
     18
          Inc., 733 F.Supp.2d 1117, 1131 (C.D. Cal. 2010). To establish fraudulent concealment
     19
          Defendants must show, with the requisite level of particularity: “(1) when the fraud
     20
          was discovered; (2) the circumstances under which it was discovered; and (3) that the
     21
          plaintiff was not at fault for failing to discover it or had no actual or presumptive
     22
          knowledge of facts sufficient to put him on inquiry.” Id.; see also Miss Global. Org.,
     23
          2018 WL 6118616, at *7; (internal citations omitted) [emphasis added].
     24
                Here, as noted in Plaintiffs’ moving papers Defendants have not even met the
     25
          “who, what, where, and how” standard, and certainly have not alleged any specific
     26
          facts excusing Angelone’s actual knowledge that Defendants claims accrued no later
     27
          than August 20, 2019. Mot. 16:21-19:8; 19:23-20:18; 24:7-25:6. Nor can they offer
     28
                                             - 17 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 23 of 39 Page ID #:3635



      1   any such plausible explanation given Angleone’s admissions that he learned he was
      2   being excluded from Hyper Engine over three years before he filed any claims
      3   against Plaintiffs. RJN, Exh. 4; Dkt. 18-2, Exh. 44. Additionally, Defendants’
      4   allegations that Angelone “was in a close business relationship with Deon and
      5   Roxanne as fellow executives of Hyper Engine, and thus was privy to management-
      6   level information…” further forecloses Defendants’ ability to argue Angelone was
      7   not in a position to discover Plaintiffs’ alleged intent to exclude him from Hyper
      8   Engine, after he decided to take self-help measures on August 20, 2019. TACC, ¶ 36.
      9   Defendants’ second, third, fourth, fifth, sixth, seventh, eighth, tenth, and eleventh
     10   claims for relief are all time barred and should be dismissed without leave to amend.
     11   VI.   DEFENDANTS EQUITABLE CLAIMS ARE DEFECTIVE
     12         Defendants argue they have adequately pled their claims under “multiple
     13   alternative theories,” (Opp., 5:22) but that is not true at all because none of their
     14   claims are pled in the alternative, magnifying the multiple additional other defects
     15   with each claim identified in Plaintiffs’ motion. TACC, ¶ ¶ 74, 80, 94, 107, 118, 126,
     16   131, 135, 141. Instead, each claim in the TACC expressly incorporates by reference
     17   all preceding allegations. Id. Overlapping legal and equitable claims over contractual
     18   relationships are internally inconsistent and subject to dismissal when the equitable
     19   claims incorporate by reference prior allegations alleging the existence of an
     20   enforceable agreement. U.S. Med. Instruments, Inc. v. CFS N. Am., Inc., No. 13-CV-
     21   349-BEN DHB, 2013 WL 6055387, at *9 (S.D. Cal. Nov. 13, 2013) (internal citations
     22   omitted); see also Anderson v. Ghaly, No. 15-CV-05120-HSG, 2020 WL 3184494, at
     23   *10 (N.D. Cal. June 15, 2020) (noting a party must be precise in pleading alternative
     24

     25

     26

     27

     28
                                             - 18 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 24 of 39 Page ID #:3636



      1   claims). 8 This additional deficiency is fatal to Defendants’ breach of implied
      2   operating agreement, unjust enrichment, and quantum merit claims, and they should
      3   be dismissed for this reason alone.
      4          A.     Defendants’ Unjust Enrichment Claim Also Fails Because
      5                 Defendants Do Not Plausibly Alleged Any Misconduct by Plaintiffs
      6          While this Court has acknowledged that a claim for unjust enrichment may be
      7   considered a quasi contract claim seeking restitution, in the absence of an express
      8   contract the plaintiff must allege facts indicating the “defendant obtained a benefit
      9   from the plaintiff by fraud, duress, conversion, or similar conduct.” Abrams v. Planet
     10   Home Lending, LLC., CV228052MWFE, U.S. Dist. LEXIS 44007 (C.D. Cal. Mar. 15,
     11   2023). In that case, this Court dismissed Plaintiff’s unjust enrichment claim as a result
     12   of “limited and conclusory allegations of wrongdoing.” Id. The same result should
     13   occur here because Defendants have not plausibly alleged any wrongdoing sufficient
     14   to support their tort claims.
     15   VII. DEFENDANTS’ BREACH OF EXPRESS AND ORAL OPERATING
     16          AGREEMENT CLAIMS ARE NOT PLAUSIBLE
     17          As discussed above and as set forth in Exhibit A, Defendants’ prior admissions
     18   in their state court pleadings, the Angelone Declaration, and their internally
     19   inconsistent allegations within the TACC itself render Defendants’ threadbare
     20   allegations that the parties ever entered into a binding written or oral operating
     21   agreement for Hyper Engine not just implausible, but demonstrably false. Hip Hop
     22   Beverage Co., supra (the court may disregard allegations that directly contradicted
     23
          8
     24     Plaintiffs’ conclusory allegations of no adequate remedy at law pled under the quantum meruit
          claim are also implausible in light of the fact that both that claim and Defendants’ negligent
     25   misrepresentation and negligence claims seek to recover substantially the same damages,
          reimbursement for services allegedly performed without resulting payment. TACC, ¶ ¶ 120, 124,
     26   137, 143. Defendants therefore have an adequate legal remedy. Sonner v. Premier Nutrition Corp.,
          971 F.3d 834, 844 (9th Cir. 2020); Rhynes v. Stryker Corp., No. 10-cv-05619-SC, 2011 WL 2149095
     27   at *4 (N.D. Cal. May 31, 2011)

     28
                                              - 19 -           Case No.: 2:22-cv-06515-MWF-AGR
                       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 25 of 39 Page ID #:3637



      1   allegations in a prior related state court action or exhibits referenced in a complaint
      2   when ruling on a motion to dismiss) (internal citations omitted). Defendants’ prior
      3   admissions foreclose their ability to plausibly allege any claim for breach of a written
      4   or oral operating agreement, rendering the possibility of amendment futile. The breach
      5   of oral operating agreement claim fails for the additional reason that it incorporates
      6   by reference the allegations of the breach of express contract claim (TACC ¶ 74) and
      7   it defies common sense that there could be simultaneously enforceable written and
      8   oral contracts covering the exact same events but with inconsistent parties and
      9   timelines as to formation. See Section IV.C, above; Exh. A.
     10         Moreover, Defendants’ breach of oral agreement claim is subject to dismissal
     11   for the additional reason that it is time barred because it was filed over a year after the
     12   relevant statute of limitations expired. See Section V.A., above. Both claims should
     13   be dismissed without leave to amend because amendment would be futile. See
     14   Mohsen, supra (2015 WL 13914801, at *8 (C.D. Cal. Oct. 2, 2015) (dismissing claims
     15   without leave to amend where amendment would be futile and contradictory in view
     16   of Plaintiff's prior pleadings)
     17   VIII. DEFENDANTS’ CLAIMS FOR BREACH OF FIDUCIARY DUTY,
     18         CONSTRUCTIVE FRAUD, NEGLIGENT MISREPRESENTATION
     19         AND NEGLIGENCE ARE NOT PLAUSIBLE
     20         These claims are not only time barred (see section V.C., above), but are also
     21   fatally flawed for a multitude of other reasons, including failure to plausibly allege an
     22   enforceable duty or plead the claims with the required level of specificity.
     23         A.     Defendants Do Not Plausibly Plead a Duty Owed by Plaintiffs
     24         The duty alleged for each of these claims is predicated on conclusory,
     25   implausible allegations that Angelone became a member of Hyper Engine by virtue
     26   of the March 1, 2018 operating agreement (the breach of fiduciary duty, constructive
     27   fraud, negligent representation and negligence claims brought by Angelone) or that
     28
                                             - 20 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 26 of 39 Page ID #:3638



      1   AOne became a member of Hyper Engine by virtue of the alleged 12/1/19 oral
      2   agreement (the negligence claim brought by AOne).9 TACC, ¶ ¶ 89, 95, 119. “The
      3   determination of whether a duty exists is primarily a question of law.” Neilson v.
      4   Union Bank of California, N.A., 290 F. Supp. 2d 1101, 1141 (C.D. Cal. 2003)
      5          Defendants’ threadbare allegations of an existing duty should be disregarded
      6   as they conflict with prior admissions made by Defendants and other internally
      7   inconsistent factual allegations within the TACC that establish the parties never
      8   consummated any operating agreement for Hyper Engine. See Section IV.C, above;
      9   Exh. A; see also McCool, supra, 2020 WL 7223252, at *7. Since Defendants cannot
     10   plausibly allege any agreement, there can as a matter of law be no corresponding duty.
     11   These claims should all be dismissed without leave to amend for this reason alone.
     12          B.     Defendants Have Not Met Rule 9(b)’s Specificity Requirements
     13          Defendants acknowledge in the opposition that under Federal Rule of Civil
     14   Procedure 9(b) they must plead their fraud claims by stating with particularity the
     15   “who, what, when, where, and how” of the fraudulent activity, but do not
     16   acknowledge the second part of the standard for pleading fraud claims, that the
     17   complaint “must set forth what is false or misleading about a statement, and why it is
     18   false.” Ebeid v. Lungwitz, 616 F.3d 993, 998 (9th Cir.2010). 10 As set forth in
     19   Plaintiffs’ moving papers, Defendants fraud allegations as to even the “who, what,
     20   when, where, and how” prong are both implausible and fail to meet Rule 9’s
     21   specificity requirements. See Mot., 16:21-17:17; 20:11-18; 24:22-25:3.
     22          Moreover, Defendants’ breach of fiduciary duty claim is insufficiently pled for
     23   the additional reason that Angelone alleges to be privy to “management level” Hyper
     24   9
            Angelone is the alleged contracting party to the March 1, 2018 written agreement while AOne is
          the alleged party to the 12/1/2019 oral contract. TACC, ¶¶ 30, 31(a)(b).
     25

     26   10
             Because Defendants’ breach of fiduciary duty claim also sounds in fraud Rule 9(b)’s requirements
          apply equally to that claim. United Energy Trading, LLC v. Pacific Gas & Electric Co., 146 F. Supp.
     27   3d 1122, 1142 (N.D. Cal. 2015) ("Sounding in fraud, [California's breach of fiduciary duty claim]
          is subject to the heightened pleading standards.")
     28
                                                       - 21 -                  Case No.: 2:22-cv-06515-MWF-AGR
                          PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 27 of 39 Page ID #:3639



      1   Engine financial information but then claims, based on information and belief, that
      2   “Deon and Roxanne were diverting funds from the Hyper Engine bank account”
      3   TACC ¶ 91. As this Court noted in Hip Hop Beverage Co., supra, where relevant
      4   facts are within the plaintiff's possession, pleading on “information and belief” fails
      5   to meet even the less stringent Twombly/Iqbal plausibility requirement appliable to
      6   non-fraud claims. Hip Hop Beverage Co., 2016 WL 8578912, at *5 (internal citations
      7   omitted).
      8         Finally, Defendants’ insurmountable problem here is that they have not and
      9   cannot plausibly allege that Defendants misled Angelone about his status as an alleged
     10   member of Hyper Engine because he conclusively admitted in his Declaration and
     11   prior state court pleadings that he knew all the way through at least April 2022 that
     12   he had no such interest in Hyper Engine. See Section IV.C, Exh. A. This is yet another
     13   reason to dismiss these claims with prejudice, as Defendants cannot plead around
     14   those admissions to save their implausible claims. They should all be dismissed
     15   without leave to amend. See Mohsen, 2015 WL 13914801, at *8 (dismissing claims
     16   without leave to amend where amendment would be futile and contradictory in view
     17   of Plaintiff's prior pleadings)
     18   IX.   DEFENDANTS’ CLAIM FOR PROMISSORY FRAUD IS NOT
     19         PLAUSIBLE
     20         Like Defendants’ other claims, this claim is also time barred. See Section V.C,
     21   above. It fails for the additional reason that Defendants cannot plausibly allege, in
     22   accordance with Rule 9(b)’s strict pleading requirements or otherwise, facts
     23   indicating Plaintiffs engaged in a “fraudulent scheme” to induce Angelone to join
     24   Hyper Engine but then “oust[ed] and ultimately defraud[ed] him of his time and
     25   substantial investment,” which is their theory of liability. Opp., 18:10-13. First, the
     26   claim fails because Plaintiffs do not plausibly allege the existence of a valid agreement
     27   for a Hyper Engine partnership. Second, the only plausible conclusion that may be
     28
                                             - 22 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 28 of 39 Page ID #:3640



      1   drawn from what has been or can be sufficiently pled is that Plaintiffs decided not to
      2   consummate the Hyper Engine transaction, and that is not promissory fraud. See Mot.
      3   18:10-19:8. Defendants’ claim in the opposition—that the allegation that Deon Taylor
      4   left Angelone a voicemail on April 8, 2022 stating that Hyper Engine was “not real”
      5   is “in and of itself sufficient to state a claim for promissory fraud” (Opp., 18:21-26)
      6   is simply incorrect both as a matter of fact and law. Under this Court’s guidance in
      7   Mohsen, the claim should be dismissed without leave to amend.
      8   X.    DEFENDANTS’ PUNITIVE DAMAGE ALLEGATIONS FAIL
      9         Plaintiffs also moved to dismiss the punitive damage allegations alleged for the
     10   Constructive and Promissory Fraud Claims. Mot. 16:25-28. Defendants do not
     11   address this argument in their opposition. The alleged entitlement to punitive damages
     12   is based on boilerplate allegations of “purposeful and deliberate conduct” and “malice
     13   and despicable conduct” by “defrauding Darrick into entering into an operating
     14   agreement” Roxanne and Deon “had no intention to fully perform at the time of the
     15   agreement.”    TACC       ¶ ¶ 106,   117.    Cal.   Civ.    C.    §   3294     provides
     16   that punitive damages may be awarded in an action for breach of an obligation not
     17   arising from contract, if the plaintiff proves by clear and convincing evidence that the
     18   defendant has been guilty of oppression, fraud, or malice. The clear and convincing
     19   standard “‘requires a finding of high probability .... “‘so clear as to leave no
     20   substantial doubt’; ‘sufficiently strong to command the unhesitating assent of every
     21   reasonable mind.’ Lackner v. North (2006) 135 Cal.App.4th 1188, 1211–1212, 37
     22   Cal.Rptr.3d 863 (internal citations omitted).
     23         Malice is “conduct which is intended by the defendant to cause injury to the
     24   plaintiff or despicable conduct which is carried on by the defendant with a willful and
     25   conscious disregard of the rights or safety of others.” Civil Code section 3294(c)(1).
     26   Oppression is “despicable conduct that subjects a person to cruel and unjust hardship
     27   in conscious disregard of that person's rights.” Civil Code section 3294(c)(2).
     28
                                             - 23 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 29 of 39 Page ID #:3641



      1         Despicable conduct is conduct that is “‘... so vile, base, contemptible,
      2   miserable, wretched or loathsome that it would be looked down upon and despised by
      3   ordinary decent people.”’ [Citation.] ‘Such conduct has been described as “[having]
      4   the character of outrage frequently associated with crime.” [Citation.] Scott v. Phoenix
      5   Sch., Inc., 175 Cal. App. 4th 702, 715, 96 Cal. Rptr. 3d 159, 170 (2009). The TACC
      6   does not meet these standards so the punitive damage claims should also be dismissed.
      7   XI.   DEFENDANTS’ DECLARATORY RELIEF CLAIM IS DEFECTIVE
      8         Defendants’ Declaratory Relief claim only seeks a judicial determination of
      9   Plaintiffs’ and Angelone’s respective “rights and duties” as parties to “a valid and
     10   binding LLC Operating Agreement in connection with Hyper Engine.” TACC,
     11   ¶¶ 132-133. Defendants are wrong when they argue the TACC “contains sweeping
     12   allegations establishing an actual controversy regarding Plaintiffs’ breach of contract
     13   and fraud in connection with Hyper Engine (Opp., 21:23-26) because (1) they have
     14   not plausibly alleged and enforceable contract; and (2) this claim makes no mention
     15   of fraud. TACC, ¶¶ 132-134. This claim should also be dismissed without leave to
     16   amend, as amendment would be futile because Defendants cannot plausibly allege the
     17   existence of a valid operating agreement.
     18   XII. CONCLUSION
     19         Defendants have already amended the TACC three times and make no showing
     20   in their opposition they can plausibly allege any additional facts that would save any
     21   claim asserted in the TACC. The entire TACC should be dismissed without leave to
     22   amend.
     23

     24

     25

     26

     27

     28
                                             - 24 -           Case No.: 2:22-cv-06515-MWF-AGR
                      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 30 of 39 Page ID #:3642



      1
          Dated: April 3, 2023                 SANDERS ROBERTS LLP
      2

      3                                  By:
      4                                        /s/ Lawrence Hinkle
                                               Lawrence Hinkle, Esq.
      5                                        Stephanie Jones Nojima, Esq.
                                               Matthew Barzman, Esq.
      6                                        Attorneys for Plaintiffs
                                               HIDDEN EMPIRE HOLDINGS, LLC;
      7                                        HYPER ENGINE, LLC; AND DEON TAYLOR
      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28
                                            - 25 -           Case No.: 2:22-cv-06515-MWF-AGR
                     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO DISMISS
Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 31 of 39 Page ID #:3643




                      EXHIBIT A
                   Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 32 of 39 Page ID #:3644
                          EXHIBIT A: SUMMARY OF DEFENDANTS’ KEY INCONSISTENT ALLEGATIONS AND PRIOR ADMISSIONS


Issue Factual Assertions in        Allegations in State Court           Allegations in Counterclaims (“CC”)   Allegations in Third Amended
      Angelone Declaration (RJN,   Complaints (RJN, Exh.                and First Amended Counterclaims       Counterclaims (“TACC” (Dkt. 51) – the
      Exh. 4)                      1(complaint); Exh. 2(FAC); Exh. 3    (“FACC”); RJN, Exh. 6 (CC), Exh.      Operating Pleading
                                   (SAC).                               7(FACC)
 A                                 Para. 21 - Defendants characterize   Para. 16 of CC and Para. 25 of FACC   Paras. 28 and 69 - Defendants
                                   the 3/1/18 operating agreement       – Defendants characterize the         removed the word “draft” and
                                   as a draft (“On or about March 1,    3/1/18 operating agreement as a       claimed that the parties entered into
                                   2018, Defendants created and         draft (“On or about March 1, 2018,    an operating agreement on March 1,
                                   circulated to Plaintiffs a draft     Cross-Defendants created a draft      2018.
                                   operating agreement for Hyper        operating agreement for Hyper
                                   Engine….”).                          Engine….”).
 B                                 Para. 23 – Defendants allege that    Para. 27 of FACC – Defendants         Para. 75 - Defendants removed the
                                   the 12/1/19 operating agreement      allege that the 12/1/19 operating     prior allegations that the 12/1/19
                                   was created on or about that date    agreement was created on or           operating agreement was a written
                                   and signed by Deon Taylor (“On or    about that date and signed by         agreement signed by Deon Taylor and
                                   about December 1, 2019, Deon         Deon Taylor (“On or about             instead alleged that it is a verbal
                                   and Roxanne created a second         December 1, 2019, Cross-              agreement. Defendants also omit the
                                   operating agreement for Hyper        Defendants created a second           allegation that the 12/1/19 operating
                                   Engine…. Plaintiffs are informed     operating agreement for Hyper         was created on 12/1/19 but instead
                                   and believe that a long-form         Engine…. Plaintiffs are informed      allege in the TACC that it was entered
                                   version of this operating            and believe that a long-form          into that date.
                                   agreement was signed and             version of this operating
                                   executed by Deon Taylor.”)           agreement was signed and
                                                                        executed by Deon Taylor.”)
 C                                 Para. 31 – Defendants allege that                                          Paras. 40 and 41 - Defendants allege
                                   “[f]ollowing the hiring of Quincy                                          that around April 2021 when HEFG
                                   Newell, Defendants knowingly                                               hired Quincy Newell, “Darrick sought
                                   ignored or disregarded any                                                 to renegotiate his membership
                                   attempts by Plaintiffs to                                                  interest in Hyper Engine...” suggesting
                                   formalize a partnership or                                                 that the parties had already entered
                                   operating agreement for Hyper                                              into an operating agreement as of
                                   Engine….” [Emphasis added.]                                                April 2021.




                                                                          1
                 Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 33 of 39 Page ID #:3645
                         EXHIBIT A: SUMMARY OF DEFENDANTS’ KEY INCONSISTENT ALLEGATIONS AND PRIOR ADMISSIONS


                                   This allegation evidences that                                          Paras. 28, 75, 81 – Defendants allege
                                   there was no agreement between                                          that the parties had entered into three
                                   the parties as of April 2012.                                           different operating agreements before
                                                                                                           April 2021.
D   Para. 39 – Angelone states:    Para. 32 - Defendants allege: “On   Para. 35 of FACC – Defendants       Para. 42 - Defendants omit the prior
    “On or about February 21,      or about February 22, 2022,         allege: “On or about February 22,   allegations of negotiating an initial
    2022, I introduced Aone’s      Darrick introduced Darrell          2022, Darrick introduced Darrell    agreement and allege: “On or about
    retained counsel, Darrell      Thompson, Esq. to Deon, Roxanne     Thompson, Esq. to Deon, Roxanne,    February 22, 2022, Darrick introduced
    Thompson, Esq. to Deon,        and Quincy Newell via email to      and Quincy Newell via email to      Darrell Thompson, Esq. to Deon,
    Roxanne, and Quincy            negotiate the terms of a binding    negotiate the terms of a binding    Roxanne, and Quincy Newell via email
    Newell (COO of HEFG) via       Hyper Engine LLC operating          Hyper Engine LLC operating          to re-negotiate and finalize the terms
    email, for the expressed       agreement…. On or about March       agreement….”                        of a revised Hyper Engine LLC
    purposes of finalizing the     15, 2022 Darrell followed up with                                       operating agreement….” [Emphasis
    terms of our partnership       Quincy by providing proposed                                            added.] The TACC does not identify
    that had been left             nonbinding terms for the Hyper                                          which of the three (3) alleged
    languishing since 2018,”       Engine partnership. On or about                                         operating agreements they were
    evidencing his unequivocal     March 15, 2022, Quincy                                                  supposedly seeking to “renegotiate”
    acknowledgement that the       acknowledged the proposed terms                                         and “revise.”
    parties had not finalized an   and asked some questions about
    operating agreement as of      them, but otherwise did not agree                                       Paras. 28, 75 and 81 – Defendants
    that date.                     to any terms.” This evidences                                           allege that the parties entered into
                                   acknowledgement of the                                                  three (3) operating agreements by
                                   nonexistence of any agreement                                           February 2022.
                                   between the parties as of that
                                   date.
E   Para 45 -Angelone states:      Para. 33 – Defendants admitted                                          Para. 43 – The same admission as in
    On or about April 8, 2022      there was no operating agreement                                        the state court pleadings is included in
    AOne’s attorney Darrell        between the parties by alleging:                                        the TACC.
    Thompson followed up with      “On or about April 26,
    Quincy regarding the           2022…Darrick replied and stated
    proposed terms regarding       AONE’s position about
    the AOne/Hidden Empire         outstanding balances for past
    partnership of Hyper Engine    services…and his personal
    sent previously,” further      dissatisfaction with the approach

                                                                         2
                 Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 34 of 39 Page ID #:3646
                         EXHIBIT A: SUMMARY OF DEFENDANTS’ KEY INCONSISTENT ALLEGATIONS AND PRIOR ADMISSIONS


    evidencing his a               Quincy was taking in avoiding
    unequivocal                    formalization of a Hyper Engine
    acknowledgement that the       partnership….” [Emphasis added.]
    parties had not finalized an
    operating agreement as of
    that date.

    Para 46 – Angelone states:
    “Quincy responded on April
    8, 2022, stating that HEFG
    ‘is not ready to engage in
    any discussion’ regarding
    plans for Hyper Engine, to
    which I expressed my
    concern that formalization
    was long overdue and
    should be addressed with
    urgency.” [emphasis
    added].




F                                  Para. 37 – Defendants admitted                               Paras. 28, 75 and 81 – Defendants
                                   there was no operating agreement                             claim that the parties entered into
                                   between the parties by alleging:                             three (3) separate operating
                                   “On or about August 9, 2022 …                                agreements.
                                   Darrick once again reiterated the
                                   mutual understanding was that a
                                   Hyper Engine partnership be
                                   formalized….” [Emphasis added.]
G                                  Para. 56 (Para. 57 of the SAC) –                             Para. 28 – Defendants allege that the
                                   Defendants admitted that no                                  parties entered into the 3/1/18
                                   March 1. 2018 operating                                      operating agreement.

                                                                       3
                Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 35 of 39 Page ID #:3647
                        EXHIBIT A: SUMMARY OF DEFENDANTS’ KEY INCONSISTENT ALLEGATIONS AND PRIOR ADMISSIONS


                                  agreement was ever entered into
                                  by alleging under their breach of
                                  express agreement claim: “On or
                                  about December 1, 2019 Plaintiffs
                                  and Defendants entered into an
                                  operating agreement to form
                                  Hyper Engine….” There is no
                                  allegation that an operating
                                  agreement dated March 1, 2018
                                  was ever finalized or signed. ,
                                  Defendants did not allege a
                                  breach of the alleged 3/1/18
                                  operating agreement in any
                                  iteration of their state court
                                  complaints.
H                                 Para. 23 – Defendants allege that                                         Para. 75 – Defendants claim that the
                                  the alleged 12/1/19 operating                                             12/1/19 operating agreement was
                                  agreement was written (and                                                oral.
                                  “signed and executed by Deon
                                  Taylor”)
I   Para. 4 – Angelone attested                                       Para. 16 of CC and Para. 25 of FACC   Para. 28 - The TACC omits the prior
    that he was not sent the                                          – Defendants state that the draft     allegations and admissions that
    alleged draft 3/1/18                                              3/1/18 operating agreement “was       Angelone did not receive the draft of
    operating agreement until                                         sent to Counterclaimants for          the 3/1/18 operating agreement until
    August 1, 2019, by email                                          review on August 1, 2019.”            August 1, 2019. Instead, Defendants
    cover stating “Please see                                                                               allege that the parties entered into
    attached for your review                                                                                the 3/1/18 operating agreement on
    and comment.”) on This                                                                                  that date.
    evidences the 3/1/18
    Agreement was never
    finalized or signed by the
    Taylors.
J   Paras. 40, 41, 42, 85, 86 –                                       Para. 25 – Defendants disavow the     Paras. 51 and 52 – Defendants
    Angelone characterizes the                                        admissions in the Angelone            characterize various alleged

                                                                        4
             Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 36 of 39 Page ID #:3648
                      EXHIBIT A: SUMMARY OF DEFENDANTS’ KEY INCONSISTENT ALLEGATIONS AND PRIOR ADMISSIONS


parties’ discussions about                                   Declaration by alleging: “In or        communications between the parties
the Fear game concept and                                    around November 2021, Darrick          about the Fear game during the period
suggests that Plaintiffs                                     proposed a Fear video game and         November 2021 through February 19,
approved his development                                     NFT activation as part of a larger     2022 suggesting that Plaintiffs at some
of the game., Attached to                                    marketing plan to Deon to which        point approved his development of
his declaration as Exhibits                                  Deon relied, “Let’s go” and            the game.
20, 21, 22, 58 and 59 are                                    engaged the rest of the HEFG
emails and text messages                                     executives to start the project.       Para. 67 – Defendants allege that they
which he alleges support                                     AONE continued planning and            are entitled to “losses of $250,000.00
these assertions but they                                    development for the game/app,          for the development of the Fear
are contradictory. Exhibits                                  including design and beta testing at   game….”
20 and 21 show that there                                    Cross-Defendants’ behest.”
were discussions about the
Fear game concept but lack
any representations that
Plaintiffs approved the Fear
game or promises to pay
Defendants for developing
the game. Exhibit 22
contains the following
statements “When is the
next call ?? Have some
dope ideas !!” Id. Exhibit 58
is a text message Angelone
sent to Mr. Taylor on or
about May 24, 2022
acknowledging no
agreement over the Fear
game: “Hefg owing a
balance can not be an
obstacle to coming to
terms on the game. The
compromise for pushing off
hyper engine convo was


                                                               5
                 Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 37 of 39 Page ID #:3649
                         EXHIBIT A: SUMMARY OF DEFENDANTS’ KEY INCONSISTENT ALLEGATIONS AND PRIOR ADMISSIONS


    solidifying partnership for
    game and marketing if hefg
    took fear out.” [Emphasis
    added.] Exhibit 59 are text
    messages from Mr. Taylor
    stating: “Might have some
    marketing money for the
    game – I’ll walk you through
    it – got some movement –.”
    [Emphasis added.] This
    evidences as of July 8, 2022
    Defendants had not
    authorized development of
    or agreed to pay for the
    Fear game.
K   Para 69 – Angelone states                                                                   Para 37 – Defendants allege “On or
    “On or about August 20,                                                                     about August 20, 2019, Darrick
    2019 I sent an email to                                                                     notified Deon and Roxanne by email
    Roxanne and Deon                                                                            that AOne maintains ownership of all
    detailing my frustration                                                                    works created by AOne, including
    and lack of inclusion in the                                                                domains and social accounts created
    Hyper Engine decision                                                                       in collaboration between AOne and
    making process and how, as                                                                  HEFG.”
    the sole digital provider of
    Hyper Engine services,
    AOne was burdened to
    carry significant costs for
    great lengths of time.
    Further, I stated that AOne
    would henceforth, despite
    no other agreements
    governing AOnes work for
    Hyper Engine and HEFG,
    retain ownership of any

                                                                 6
            Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 38 of 39 Page ID #:3650
                     EXHIBIT A: SUMMARY OF DEFENDANTS’ KEY INCONSISTENT ALLEGATIONS AND PRIOR ADMISSIONS


assets created for HEFG in
the course of our business
together.”

Attached to his Declaration
is Exhibit 44, which is an
August 20, 2019 email to
Roxanne and Deon Taylor
from Darrick Angelone
stating: “In lieu of the
continued burden of carried
costs and lack of
formalizing our hyper
engine partnership, this is
notice that until a formal
partnership agreement
between AOne and HEFG is
formalized, moving forward
aone will retain ownership
of all domains registered
(including renewals) and
social accounts created in
the ongoing collaborations
between aone and
HEFG…Happy to discuss in
more detail or better yet
formalize Hyper Engine and
get to work.” This
evidences as of August 20,
2019 no Hyper Engine
agreement had been
entered into and
Defendants were on notice
of any potential claims they


                                                             7
            Case 2:22-cv-06515-MWF-AGR Document 78 Filed 04/10/23 Page 39 of 39 Page ID #:3651
                   EXHIBIT A: SUMMARY OF DEFENDANTS’ KEY INCONSISTENT ALLEGATIONS AND PRIOR ADMISSIONS


may have over Plaintiffs’
decision not to formalize
any such arrangement as of
that date.




                                                           8
